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Ashley M. Gjovik, JD
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             United States District Court
             Northern District of California

                                         CAND No. 3:23-CV-04597-EMC
                                         9th Cir No.: 24 -6058


Ashley M. Gjovik , an individual,            Plaintiff’s Request for
                                             Judicial Notice
      Plaintiff,
                                             In Support of Plaintiff ’s
    vs.                                      Opposition to Defendant’s
                                             Motions to Dismiss
Apple Inc., a corporation,
                                             Motion Hearing:
                                             Dept: Courtroom 5 (& Zoom)
                                             Judge: Honorable Edward M. Chen
      Defendant.
                                             Date: Februar y 21, 2025
                                             Time: 9AM PT
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1     PLAINTIFF'S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF HER

2                          CALIFORNIA LABOR CODE § 232 CLAIM

3            1.      Plaintiff Ashley Gjovik, appearing pro se, respectfully requests that this Court take
4    judicial notice of publicly available evidence demonstrating that Defendant Apple Inc. ("Apple")

5    was aware of and engaged in retaliatory actions against Plaintiff for her legally protected discussions

6    about employee pay, compensation disparities, and workplace organizing, in violation of California

7    Labor Code § 232. Judicial notice is warranted under Federal Rule of Evidence 201(b), as the facts
     contained in these publicly available sources are not subject to reasonable dispute and are capable
8
     of accurate and ready determination from sources whose accuracy cannot reasonably be
9
     questioned.
10
             2.      Plaintiff engaged in protected activity under California Labor Code § 232 by
11
     discussing pay equity and compensation issues on Apple’s internal Slack channels, publicly on
12
     Twitter, and in public news articles. At the same time, Apple was under intense public scrutiny
13
     regarding pay transparency and equity issues. Yet, despite overwhelming evidence that Apple was
14   aware of these discussions, Apple’s attorneys at Orrick, Herrington & Sutcliffe LLP ("Orrick") have
15   repeatedly argued that Apple had no knowledge of Plaintiff’s engagement in pay discussions and
16   that Plaintiff cannot prove Apple was aware of such discussions. However, multiple publicly
17   available sources contradict this assertion, including:
18
     I.      Twitter Posts
19
             3.      Plaintiff posted extensively about Apple’s pay transparency issues and organizing
20
     efforts. [see Exhibit A]. Defendant has admitted that it investigated Plaintiff’s Twitter account as
21
     part of a purported “leak” investigation but now contradictorily claims it never reviewed Plaintiff’s
22
     Twitter. Both of these claims cannot simultaneously be true.
23
             4.      Courts have recognized that information from social media platforms like Twitter
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     can be subject to judicial notice, particularly when the content's authenticity is not disputed and it
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     is publicly accessible.
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1            5.      The Ninth Circuit took judicial notice of information on publicly available websites,

2    noting that such information could be accurately and readily determined from sources whose

3    accuracy cannot reasonably be questioned. See, Daniels-Hall v. National Education Association, 629
     F.3d 992, 998–99 (9th Cir. 2010). The court took judicial notice of publicly available social media
4
     posts, recognizing that they could be accurately and readily determined from sources whose
5
     accuracy could not reasonably be questioned. See, United States v. Brown, 2019 WL 6463491, at *2
6
     (C.D. Cal. Dec. 2, 2019).
7
8    II.     News Articles Reporting on Pay Transparency
9            and Employee Organizing at Apple

10           6.      Multiple reputable news organizations covered the issue of Apple’s pay

11   transparency and workplace organizing at the same time Plaintiff was engaging in protected activity.

12   Many of these articles explicitly state that Apple was asked for comment regarding its employees’
     discussions about pay equity. [See Exhibit B].
13
             7.      Courts may take judicial notice of news articles to indicate what was in the public
14
     realm at the time, though not necessarily for the truth of the matters asserted within them. The
15
     Ninth Circuit held that courts "may take judicial notice of publications introduced to indicate what
16
     was in the public realm at the time, not whether the contents of those articles were in fact true."
17
     See, Von Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 960 (9th Cir. 2010). The
18
     court took judicial notice of newspaper articles as evidence of the information available to the
19
     public. See, Rothman v. Gregor, 220 F.3d 81, 92 (2d Cir. 2000).
20
21 III.      Simultaneous Litigation
22           8.      At the exact time of Plaintiff’s protected activities, Apple’s counsel at Orrick was

23   also representing Apple in a high-profile pay equity lawsuit (Schultz v. Apple Inc.) in state court. The

24   existence of this litigation further undercuts Apple’s assertion that it had no knowledge of pay-

25   related discussions among its employees. [Exhibit C]. The same counsel are also currently
     representing Apple in another pay equity lawsuit, Jong v. Apple Inc. [Exhibit D].
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1             9.      Courts commonly take judicial notice of proceedings and filings in other courts,

2    both within and outside the federal judicial system, if those proceedings have a direct relation to

3    matters at issue. United States ex rel. Robinson Rancheria Citizens Council v. Borneo, Inc., 971
     F.2d 244, 248 (9th Cir. 1992): The Ninth Circuit stated that courts "may take notice of proceedings
4
     in other courts, both within and without the federal judicial system, if those proceedings have a
5
     direct relation to matters at issue." Rosales-Martinez v. Palmer, 753 F.3d 890, 894 (9th Cir. 2014):
6
     The court took judicial notice of state court proceedings that were directly related to the federal
7
     case at hand.
8
9    IV.      Request for Judicial Notice
10            10.     Under Federal Rule of Evidence 201(b), a court may take judicial notice of facts that
11   are “not subject to reasonable dispute because they... can be accurately and readily determined from
12   sources whose accuracy cannot reasonably be questioned.” Courts routinely take judicial notice of
13   publicly available news articles, court records, social media posts, and public company statements

14   when they are relevant to matters at issue. See Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998–

15   99 (9th Cir. 2010) (taking judicial notice of information published on publicly accessible websites);
     Von Saher v. Norton Simon Museum of Art, 592 F.3d 954, 960 (9th Cir. 2010) (judicial notice of news
16
     articles).
17
     Plaintiff respectfully requests that this Court take judicial notice of the following:
18
           1. Publicly available news articles that confirm widespread media coverage of pay
19
              transparency and employee organizing at Apple.
20
           2. Plaintiff’s public Twitter posts discussing pay equity issues at Apple.
21
           3. Public records and filings from Schultz v. Apple Inc., demonstrating that Apple and its legal
22
              counsel at Orrick were actively litigating a pay equity dispute at the same time Plaintiff was
23            discussing the same issues internally and publicly.
24            11.     These sources are reliable, publicly available, and not subject to reasonable dispute,
25   warranting judicial notice under Federal Rule of Evidence 201(b). Given that Apple’s legal position
26   directly contradicts readily available public records and news sources, judicial notice is necessary
27   to prevent Apple from benefiting from selective omissions and misrepresentations regarding its

28   awareness of Plaintiff’s protected activities.

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1    V.     Conclusion
2           10. For the foregoing reasons, Plaintiff respectfully requests that the Court grant this
3    Request for Judicial Notice and consider the publicly available evidence in support of Plaintiff’s
4    California Labor Code § 232 claim.
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     Dated: Jan. 31, 2024.
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     Signature:
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     /s/ Ashley M. Gjovik
15   Pro Se Plaintiff
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17   Email: lega l@ashleygj ovik.com
     Physical Address :
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     Boston, Massachusetts
19   Mailing Address:
20   2108 N St. Ste. 4553 Sacramento, CA, 95816
     Phone: (408) 883 -4428
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                                        Exhibit A
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13   Plaintiff’s social media post about pay, prior to termination.
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9    POST: AUG. 13 2021 | FIRED: SEPT. 9 2021
10   https://twitter.com/ashleygjovik/status/1426269321496387585?lang=en

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     POST: AUG 9 2021 | FIRED: SEPT 9 2021
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25   https://x.com/ashleygjovik/status/1431743508226838528
     https://x.com/ashleygjovik/status/1431745653894311944
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     POST: AUG 31 2021 | FIRED: SEPT 3 2021
22   https://x.com/ashleygjovik/status/1432794998345375748

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     POST: AUG 31 2021 | FIRED: SEPT 9 2021
27   https://x.com/ashleygjovik/status/1432808176026472448
     https://x.com/ashleygjovik/status/1432809271746383878
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                                        Exhibit B
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11               News Articles about Pay Discussions at Apple
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26   ARTICLE: AUG. 9 2021 | FIRED SEPT. 9 2021
27   https://www.theverge.com/2021/8/9/22609687/apple -pay-equity-employee -surveys-
28   protected -activity


         Pl .’ s Re q . f or Ju d . No t. in S up p. o f Pl .’s Op p. | C as e No . 3: 23 - C V-0 45 9 7- E M C
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27   ARTICLE: AUG. 23 2021 | FIRED: SEPT. 9 2021
     https://www.theverge.com/2021/8/23/22633141/apple -pay-equity-survey-results-
28   wage-gap


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     ARTICLE: AUG.313 2021 | FIRED: SEPT. 9 2021
23   https://www.theverge.com/2021/8/31/22650751/apple -bans-pay-equity-slack-channel
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            Anita Schulz v. Apple, Case N0. 20CV369611,
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                    Santa Clara Superior Court
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27   https://americankahani.com/lead -stories/court -rules-in-favor-of-former-apple-
     employee-fired-after-filing-a-discrimination -lawsuit/
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                                        Exhibit D
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13                   Justina Jong & Amina Salgado v. Apple,
14                          Case No. CGC-24-615363,
15                        San Francisco Superior Court
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